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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In re:                                                  Chapter 11
                           1
     USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.


                   NOTICE OF HEARING TO APPROVE DISCLOSURE
                 STATEMENT AND PLAN CONFIRMATION PROCEDURES

         PLEASE TAKE NOTICE that on October 4, 2021, the Bankruptcy Court held a hearing
 to consider approval of (1) the Debtor’s Motion For Order Approving The Disclosure Statement
 And Plan Confirmation Procedures [Dkt. 1553] (the “Disclosure Statement Motion”); (2) USA
 Gymnastics’ Disclosure Statement For Second Amended Joint Chapter11 Plan Of Reorganization
 Proposed By USA Gymnastics And The Additional Tort Claimants Committee Of Sexual Abuse
 Survivors [Dkt. 1602] (as amended, modified, or supplemented from time to time, the “Disclosure
 Statement”); (3) other materials included in solicitation packages (the “Solicitation Packages”)
 to be distributed to holders of claims entitled to vote to accept or reject the Second Amended Joint
 Chapter 11 Plan Of Reorganization Proposed By USA Gymnastics And The Additional Tort
 Claimants Committee Of Sexual Abuse Survivors [Dkt. 1601] (as amended, modified, or
 supplemented from time to time, the “Plan”); and (4) procedures governing the manner in which
 the Plan Proponents shall solicit and tabulate votes to accept or reject the Plan.

       PLEASE TAKE FURTHER NOTICE that the hearing has been continued to
 October 19, 2021 at 1:30 p.m. (prevailing Eastern time) in person in Courtroom 329, U.S.
 Courthouse, 46 East Ohio Street, Indianapolis, Indiana 46204 (the “Continued Disclosure
 Statement Hearing”).

         PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested
 parties to listen to the Continued Disclosure Statement Hearing, but not actively participate, is 1-
 888-273-3658, passcode: 9247462#.

        PLEASE TAKE FURTHER NOTICE that the Disclosure Statement, Plan, and related
 documents may be modified without further notice prior to or as a result of the Continued
 Disclosure Statement Hearing.

        PLEASE TAKE FURTHER NOTICE that, to the extent the Court determines to hold
 the Continued Disclosure Statement Hearing remotely, the Debtor will file (but will not serve) an
 amended notice of the Continued Disclosure Statement Hearing on the Court’s docket, and will

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  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 1099 N. Meridian St., Suite 800, Indianapolis, Indiana 46204.
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 also post the amended notice of the Continued Disclosure Statement Hearing on its website and
 on its restructuring website.

        PLEASE TAKE FURTHER NOTICE that copies of the Disclosure Statement Motion,
 the Disclosure Statement, the Plan, and the other materials in the Solicitation Packages may be
 accessed through the case website at: https://omniagentsolutions.com/usagymnastics, or by
 contacting the Debtor’s attorneys, on PACER, or from the Clerk of the Court.


  Dated: October 5, 2021                           JENNER & BLOCK LLP

                                                   By: /s/ Catherine Steege
                                                   Catherine L. Steege (admitted pro hac vice)
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